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 6

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 9
                                  IN THE UNITED STATES DISTRICT COURT
10
                                     EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                           CASE NOS. 2:15-CR-00176-TLN
                                                                   1:15-CR-00242-TLN
13                                 Plaintiff,
                                                         STIPULATION AND ORDER FOR SCHEDULING
14                           v.                          OF A STATUS CONFERENCE FOR JANUARY 18,
                                                         2018
15   BOONE KHOONSRIVONG,
                                                         DATE: January 11, 2018
16                                Defendant.             TIME: 9:30 a.m.
                                                         COURT: Hon. Troy L. Nunley
17

18                                                STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
20 through defendant’s counsel of record, hereby stipulate as follows:

21          1.       By previous order, this matter was set for status on January 11, 2018.
22          2.       On March 16, 2017, the defendant entered a guilty plea pursuant to written plea
23 agreement (ECF No. 128). Mr. Khoonsrivong was represented by the Federal Defender’s Office at that

24 time.

25          3.       On October 17, 2017, the Court granted the Federal Defender’s motion to withdraw as
26 counsel (ECF No. 256).

27          4.       On October 18, 2017, the Court signed an order appointing David Fischer to represent the
28 defendant, vacated the current dates for the PSR and sentencing, and directed the parties to propose a

      STIPULATION AND ORDER RE: A STATUS CONFERENCE       1
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 1 new dates by stipulation (ECF No. 259).

 2         5.       Defense counsel has stated that he still requires additional time to review this case and to

 3 decide how next to proceed. Consequently, the parties are requesting that this case be placed on

 4 calendar on January 18, 2018, at 9:30 a.m. for a status conference.

 5 IT IS SO STIPULATED.

 6
     Dated: January 9, 2018                                   MCGREGOR W. SCOTT
 7                                                            United States Attorney
 8
                                                              /s/ ROSANNE L. RUST
 9                                                            ROSANNE L. RUST
                                                              Assistant United States Attorney
10

11
     Dated: January 9, 2018                                   /s/ David Fischer
12                                                            DAVID FISCHER
13                                                            Counsel for Defendant
                                                              BOONE KHOONSRIVONG
14

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16

17                                          FINDINGS AND ORDER

18         IT IS SO FOUND AND ORDERED this 9th day of January, 2018.

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                                                        Troy L. Nunley
23                                                      United States District Judge
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      STIPULATION AND ORDER RE: A STATUS CONFERENCE       2
